UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE

In re:

FTX TRADING LTD.

,etal,

Debtors

Chapter I1

No. 22-11068 (JTD)

(Jointly Administered)

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this

evidence and notice.
Name of Transferee:

Sameer Moolana

Name and Current Address of Transferee:

Sameer Moolana

Sidra 1, Villa 53, Dubai HillsEstate Dubai,

United ArabEmirates

Email: sameer.moolana@protonmail.com

Phone: +971 54 322 1438

Name of Transferor:

Name and Address where notices and payments
to transferor should be sent:

Claim No/Schedule Creditor Name Amount Debtor Case No.
FTX Account ID [Confidential] Sec Schedule FTX Trading Ltd. 22-11068
Number 4707798 A attached,

Scheduled ID

Number

221 106806179651

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

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Transferee/Transferee’s Agent

Date: DUNE 3" 2024

EVIDENCE OF TRANSFER OF CLAIM
TO: THE DEBTOR FTX TRADING LTD. AND THE BANKRUPTCY COURT

GE (“Assignor”) hereby certifies that, for value received, the adequacy and
sufficiency of which are hereby acknowledged, Assignor has sold, transferred and assigned to
Sameer Moolana (“Assignee”) all of its right, title, interest, claims and causes of action in and to,
or arising under or in connection with its claim (as such term is defined in Section 101(5) of the
U.S. Bankruptcy Code) in the amount of a reflected in FTX Account ID Number
4707798 with Scheduled ID Number 221106806179651 against FTX Trading Ltd. (the

“Debtor”), a debtor in Chapter 11 Case No. 22-11068 (JTD) (Jointly Administered), pending in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”),
including any and all proofs of claim have been or may be filed by Assignor with the Bankruptcy
Court in respect of the foregoing claim.

Assignor hereby waives any objection to the transfer of the claim to Assignee on the
books and records of the Debtor and the Bankruptcy Court, and hereby waives to the fullest
extent permitted by law any notice or right to a hearing as may be imposed by Rule 3001 of the
Federal Rules of Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules
or applicable law. Assignor acknowledges and understands, and hereby stipulates, that an order
of the Bankruptcy Court may be entered without further notice to Assignor transferring to
Assignee the foregoing claim and recognizing the Assignee as the sole owner and holder of the
claim. Assignor further directs the Debtor, the Bankruptcy Court, and all other interested parties
that all further notices relating to the claim, and all payments or distributions of money or
property in respect of claim, shall be delivered or made to the Assignee.

IN WITNESS WHEREOF, THIS EVIDENCE OF TRANSFER OF CLAIM IS EXECUTED
THIS FEBRUARY 21ST, 2024.

By:

Sameer Moolana

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By: ~——

Identity of Transferor/Seller

Transferee/Buyer has in its possession an unredacted Transfer of Claim Other Than For Security and an executed Evidence of
Transfer of Claim.

In order to protect the identity of the Transferor/Seller, Transferee/Buyer has not disclosed the Transferor’s/Seller’s name in the
filed Transfer of Claim Other Than For Security and Evidence of Transfer of Claim.

Upon wniten request, Transferee/Buyer is prepared to provide a copy of the unredacted Transfer of Claim Other Than For
Security and signed Evidence of Transfer of Claim to the Bankruptcy Court, the Debtors, and related appropriate professionals.
SCHEDULE A

PURCHASE PRICE
Account Assets
TOKEN AMOUNT VALUE
@ usot 135,704.38 $135,377.47
& CLV 0.08 $0.00
Total

$135,377.48
